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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

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CLAUDE V. LEWIS,                                       : Civil Action No. 1:14-cv-02302(CRK)(KNF)
                                                       :
                           Plaintiff,                  : (ECF Case)
                                                       :
         -against-                                     :
                                                       :    NOTICE OF MOTION TO BIFURCATE
AMERICAN SUGAR REFINING, INC,                          :     PURSUANT TO FED. R. CIV. P. 42(b)
and MEHANDRA RAMPHAL,                                  :
                                                       :
                           Defendants.                 :
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          PLEASE TAKE NOTICE that the undersigned attorneys for Defendant American

Sugar Refining, Inc. and Mehandra Ramphal (the “Defendants”) shall move before the Hon.

Claire R. Kelly, U.S.D.J. sitting by designation in the United States District Court for the

Southern District of New York in the U.S. Court of International Trade, One Federal Plaza, New

York, New York 10278 for an Order granting the Defendants’ Motion to Bifurcate Punitive

Damages from the Liability and Compensatory Damages Portion of the Trial pursuant to Fed. R.

Civ. P. 42(b); and

          PLEASE TAKE FURTHER NOTICE that the Defendants will rely upon the

Memorandum of Law and Certification of Michael T. Hensley, Esq., with exhibits, submitted

herewith; and

          PLEASE TAKE FURTHER NOTICE that a proposed form of order is being submitted

herewith; and

          PLEASE TAKE FURTHER NOTICE that the Defendants request oral argument.

Dated: New York, New York
       March 22, 2018




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                                            By:      /s/ Michael T. Hensley
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                                                  and Mehandra Ramphal




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